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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                               IN RE: CATHODE RAY TUBE (CRT)            )   MDL No. 1917
                                                                          8    ANTITRUST LITIGATION                     )
                                                                                                                        )   Case No. C-07-5944-SC
                                                                          9                                             )
                                                                                                                        )   ORDER RE: CALIFORNIA
                                                                         10    This Order Relates To:                   )   ATTORNEY GENERAL DISCOVERY
United States District Court
                               For the Northern District of California




                                                                                                                        )   ISSUES
                                                                         11    ALL ACTIONS                              )
                                                                                                                        )
                                                                         12                                             )
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                                                                         18   I.   INTRODUCTION
                                                                         19        Now before the Court are two administrative motions brought by
                                                                         20   the Attorney General of the State of California ("the AG"),
                                                                         21   relating to its discovery efforts coordinated with this matter.
                                                                         22   First, the AG moves for an order extending the applicable discovery
                                                                         23   cutoff, previously September 5, 2014, to permit the deposition of
                                                                         24   Mr. Leo Mink to take place in the Netherlands by January 30, 2015.
                                                                         25   ECF No. 2780 ("Mink Mot.").      Second, the AG asks the Court to issue
                                                                         26   revised letters of request to permit the taking of evidence from
                                                                         27   Woong Tae Kim ("W.T. Kim") and Myung Joon Kim ("M.J. Kim") of the
                                                                         28   Republic of Korea.     ECF No. 2794 ("Kim Mot.").      Samsung opposes
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                                                                          1   both motions.       ECF Nos. 2810 ("Mink. Opp'n"), 2827 ("Kim Opp'n").
                                                                          2   For the reasons set forth below, the motion to extend the discovery
                                                                          3   deadline to permit the taking of Mr. Mink's deposition is GRANTED.
                                                                          4   The motion for the issuance of revised letters of request to permit
                                                                          5   the taking of evidence from W.T Kim and M.J. Kim is DENIED.
                                                                          6
                                                                          7   II.     BACKGROUND
                                                                          8           Both these motions arise out of previous discovery orders.
                                                                          9   First, in January of 2014 the Court granted the AG's motion for the
                                                                         10   issuance of a letter of request for international judicial
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                                                                         11   assistance from the Netherlands in obtaining Mr. Mink's testimony
                                                                         12   pursuant to the Hague Convention.1           ECF No. 2362 ("First Mink
                                                                         13   Order").      After the letter was transmitted to Dutch authorities,
                                                                         14   the Netherlands' Central Authority contacted the AG to inform her
                                                                         15   that the first request was misfiled, and a second letter of request
                                                                         16   would be necessary.        ECF Nos. 2518 ("Second Mink Mot.").         The AG
                                                                         17   moved for the issuance of a second set of letters, and the Court
                                                                         18   granted that motion in April 2014.           ECF No. 2530 ("Second Mink
                                                                         19   Order").      Since that time the AG's office has been in repeated
                                                                         20   contact with Dutch authorities, who have apparently run into
                                                                         21   administrative difficulties in executing the Court's letters of
                                                                         22   request.      Mink Mot. at 2-3.     Those issues having now been mostly
                                                                         23   sorted out, the AG seeks an extension of the discovery deadline to
                                                                         24   permit the examination of Mr. Mink to be held by January 30, 2015.
                                                                         25   The AG argues the extension "affords the Dutch authorities the time
                                                                         26   necessary to effectuate this Court's formal requests but also
                                                                         27   1
                                                                                Hague Convention on the Taking of Evidence Abroad in Civil or
                                                                         28   Commercial Matters, Mar. 18, 1970, 23 U.S.T. 2555, T.I.A.S. No.
                                                                              7444 (codified at 28 U.S.C. § 1780) ("Hague Convention").


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                                                                          1   ensures that the requested examination will be completed before the
                                                                          2   pre-trial conference in" this case.        Id. at 3-4.
                                                                          3        Similarly, in May 2014 the Court granted the AG's original
                                                                          4   motion for the issuance of letters of request to the relevant
                                                                          5   authorities in the Republic of Korea seeking discovery from W.T.
                                                                          6   Kim and M.J. Kim.    ECF No. 2571 ("Kims Order").        Several months
                                                                          7   later, the Court received two letters from the National Court
                                                                          8   Administration of the Republic of Korea requesting revisions to the
                                                                          9   letters of request to include the specific questions to be offered
                                                                         10   to the witnesses.    ECF Nos. 2724; 2725 ("Korea Letters").         These
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                                                                         11   revisions are apparently necessary for compliance with Article
                                                                         12   Three of the Hague Convention and Article 80 of the Civil Procedure
                                                                         13   Rules of Korea.    Id.    Now the AG has submitted revised letters,
                                                                         14   and asks both that the Court issue the revised letters of request
                                                                         15   and extend the discovery deadline to permit the discovery requested
                                                                         16   to go forward.
                                                                         17        Samsung opposes both motions.
                                                                         18
                                                                         19   III. LEGAL STANDARD
                                                                         20        A.    Issuance of Letters of Request
                                                                         21        Letters of request, also referred to as letters rogatory, are
                                                                         22   formal written requests sent by a court in which an action is
                                                                         23   pending to a foreign court seeking discovery from a witness within
                                                                         24   the foreign court's jurisdiction.         Asis Internet Servs. v. Optin
                                                                         25   Global, Inc., No. C-05-05124 JCS, 2007 WL 1880369, at *3 (N.D. Cal.
                                                                         26   June 29, 2007).    Letters of request may include, among other
                                                                         27   things, requests for production of documents or for depositions to
                                                                         28   be taken in a foreign country.       See Fed. R. Civ. P. 28(b)(1)(B)



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                                                                          1   (stating depositions may be taken abroad "pursuant to a letter of
                                                                          2   request (whether or not captioned a letter rogatory)").             Courts
                                                                          3   have inherent authority to issue letters of request, SEC v. Leslie,
                                                                          4   No. C 07-03444 JF (PVT), 2009 WL 688836, at *2 (N.D. Cal. Mar. 16,
                                                                          5   2009), and a party opposing their issuance must show "good reason
                                                                          6   for a court to deny an application for a letter [of request]."               Id.
                                                                          7           B.   Modification of Scheduling Orders
                                                                          8           Scheduling orders "may be modified only for good cause and
                                                                          9   with the judge's consent."      Fed. R. Civ. P. 16(b)(4).       Pretrial
                                                                         10   scheduling orders may be modified if the dates scheduled "cannot
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                                                                         11   reasonably be met despite the diligence of the party seeking the
                                                                         12   extension."    Johnson v. Mammoth Recreations, Inc., 975 F.2d 604,
                                                                         13   609 (9th Cir. 1992).     The focus of the good cause inquiry is "on
                                                                         14   the moving party's reasons for seeking modification.          If that party
                                                                         15   was not diligent, the inquiry should end."         Id.
                                                                         16
                                                                         17   IV.   DISCUSSION
                                                                         18           Samsung makes three similar arguments in opposition to the
                                                                         19   AG's motions.    First, Samsung argues the AG has not been diligent
                                                                         20   in pursuing these discovery requests.        Second, Samsung suggests the
                                                                         21   AG's requests are prejudicial and, in the case of Mr. Mink's
                                                                         22   deposition, duplicative of previous discovery.           Third, comity
                                                                         23   interests are not implicated here and do not weigh in favor of
                                                                         24   granting the AG's motions.
                                                                         25           The purpose of the good cause standard and the focus on
                                                                         26   diligence under Federal Rule of Civil Procedure 16(b)(4) is two-
                                                                         27   fold.    First, analyzing whether good cause exists to vary a
                                                                         28   deadline allows the court to balance the need for certainty in case



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                                                                          1   management against the unexpected difficulties that often arise in
                                                                          2   complying with case scheduling.       Fed. R. Civ. P. 16 advisory
                                                                          3   committee's note to 1983 amendment (suggesting that because
                                                                          4   scheduling orders are often entered early in the litigation, a
                                                                          5   "good cause" standard is preferable).         Second, centering the good
                                                                          6   cause analysis on the moving party's diligence prevents parties
                                                                          7   from profiting from carelessness, unreasonability, or gamesmanship,
                                                                          8   while also not punishing parties for circumstances outside their
                                                                          9   control.   See Orozco v. Midland Credit Mgmt. Inc., No. 2:12-cv-
                                                                         10   02585-KJM-CKD, 2013 WL 3941318, at *3 (E.D. Cal. July 30, 2013).
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                                                                         11   Accordingly, if a party "fails to heed repeated signals," waits
                                                                         12   until the eleventh hour for tactical reasons, or otherwise acts
                                                                         13   carelessly or in bad faith, courts are unlikely to vary the
                                                                         14   applicable schedule.     Johnson, 975 F.2d at 609; see also In re W.
                                                                         15   States Wholesale Nat. Gas Antitrust Litig., 715 F.3d 716, 737 (9th
                                                                         16   Cir. 2013) (being "aware of the facts and theories supporting
                                                                         17   amendment since the inception of the action" demonstrated lack of
                                                                         18   diligence); Mitsui O.S.K. Lines, Ltd. v. Seamaster Logistics, Inc.,
                                                                         19   No. 11-cv-2861-SC, 2012 WL 6095089, at *2-3 (N.D. Cal. Dec. 7,
                                                                         20   2012) (Conti, J.) (finding lack of diligence where a party waited
                                                                         21   until the eve of the discovery deadline to seek amendment);
                                                                         22   Unlimited Holdings, Inc. v. Bertram Yacht, Inc., Civ. No. 2005-46,
                                                                         23   2008 WL 4642191, at *7-8 (D.V.I. Oct. 15, 2008)(referring to
                                                                         24   plaintiffs' "cavalier attitude" toward discovery and apparent
                                                                         25   "belief that this Court's orders are mere suggestions").
                                                                         26        A.    Mr. Mink's Deposition
                                                                         27        The Court finds the AG acted diligently in pursuing Mr. Mink's
                                                                         28   deposition for four reasons.



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                                                                          1         First, the AG did not wait an unreasonably long time before
                                                                          2   beginning the Hague Convention process.        Samsung argues that the AG
                                                                          3   knew or should have known of Mr. Mink's relevance when Samsung
                                                                          4   filed supplemental responses to interrogatories in October 2011.
                                                                          5   Samsung is right that its supplemental interrogatory responses
                                                                          6   identified Mr. Mink as potentially relevant as early as October
                                                                          7   2011, however those responses are voluminous, and include hundreds
                                                                          8   of names and dozens of pages listing meetings between various
                                                                          9   representatives of the Defendants.        Sorting through that list and
                                                                         10   identifying key participants must have required extensive time and
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                                                                         11   effort.   Nevertheless, Samsung insists that at the latest, the AG
                                                                         12   should have begun pursuing Hague Convention procedures in December
                                                                         13   2012, when Mr. Mink was identified as a potential deponent.          Yet
                                                                         14   the documents Samsung cites in support of this argument support,
                                                                         15   rather than undermine, the conclusion that the AG acted diligently.
                                                                         16   For instance, in that December 2012 letter identifying Mr. Mink as
                                                                         17   a potential deponent, Plaintiffs listed Mr. Mink among 26
                                                                         18   individuals who might be deposed in the future, and then solicited
                                                                         19   information about his employment status, intent to invoke Fifth
                                                                         20   Amendment rights, and Defendants' views on whether he was likely to
                                                                         21   have relevant information.      See ECF No. 2810-1 ("Cunningham Mink
                                                                         22   Decl.") Ex. A (listing the first six Philips deponents and seeking
                                                                         23   information about 26 potential deponents including Mink).           The
                                                                         24   letter also informed Defendants that Plaintiffs would seek to
                                                                         25   depose six Philips affiliated individuals first, before turning to
                                                                         26   some of the 26 additional individuals including Mr. Mink.           Id. at
                                                                         27   1.   This shows more than anything else that the AG and Plaintiffs
                                                                         28   were working together at an early date in trying to identify



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                                                                          1   witnesses, narrow the scope of discovery where possible, and
                                                                          2   investigate the usefulness of pursuing discovery against witnesses,
                                                                          3   including Mr. Mink.
                                                                          4           Second, the AG's decision to allow more than eight months for
                                                                          5   its letters of request to be issued and executed was not careless
                                                                          6   or unreasonable.       As all the parties have seen, difficulties and
                                                                          7   delays are to be expected when a party utilizes Hague Convention
                                                                          8   procedures, however empirical research shows that in the vast
                                                                          9   majority of cases, Hague Convention requests for oral testimony are
                                                                         10   resolved within six months.2
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                                                                         11          Third, and perhaps most compellingly, the reason the AG is
                                                                         12   seeking an extension of time in this instance relates not to
                                                                         13   carelessness, bad faith, or a lack of diligence, but rather because
                                                                         14   the Dutch authorities have experienced unique and unexpected
                                                                         15   difficulties outside the Court's or the AG's control.              As counsel
                                                                         16   points out, the AG's office has been in frequent communication with
                                                                         17   Dutch authorities seeking a resolution of these issues, even going
                                                                         18   so far as to hire a Dutch agent to seek a resolution of this issue,
                                                                         19   but has so far been thwarted by misfiled documents, conflicts of
                                                                         20   interest, and other administrative issues outside the AG's control.
                                                                         21   See ECF No. 2780-1 ("Varanini Mink Decl.") ¶¶ 4-6.             Now the AG has
                                                                         22   apparently reached an agreement with the Dutch authorities, and
                                                                         23   only needs time to accommodate their schedule.            Id. at ¶ 7.
                                                                         24          Accordingly, the Court finds that the AG acted diligently in
                                                                         25   2
                                                                                Am. Bar Ass'n, Int'l Litig. Comm., Section of Int'l L. & Prac.,
                                                                         26   Report on Survey of Experience of U.S. Lawyers with the Hague
                                                                              Evidence Convention Letter of Request Procedures, at 10 (Oct. 9,
                                                                         27   2003) ("ABA Report"), available at:
                                                                              http://www.hcch.net/upload/wop/lse_20us.pdf (showing 84.4 percent
                                                                         28   of letters of request for oral testimony are resolved within 6
                                                                              months).


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                                                                          1   pursuing Mr. Mink's testimony.       Nonetheless, Samsung raises to
                                                                          2   additional grounds it argues should bar a finding of good cause.
                                                                          3       First, Samsung contends that Mink's deposition will be
                                                                          4   duplicative of other discovery against Philips.          This claim is
                                                                          5   belated and misplaced.     While the risk of duplicative discovery
                                                                          6   might be a reason to deny a motion for the issuance of letters of
                                                                          7   request, the AG twice brought such motions, and the Court twice
                                                                          8   granted them, each time unopposed.        Here, the Court is not
                                                                          9   evaluating the merits of the AG's request (at least with regard to
                                                                         10   Mink's deposition), but rather whether good cause exists to grant
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                                                                         11   an extension of time.     Additionally, even if the Court were to
                                                                         12   evaluate the merits of this issue under Rule 26(b)(2)(C)(i),
                                                                         13   Samsung is incorrect that the AG must "show that Mr. Mink could
                                                                         14   provide . . . unique information . . . " in order to depose him.
                                                                         15   Mink Opp'n at 4.    Neither Rule 26 nor any other authority supports
                                                                         16   the application of such a heightened standard.         Rather, the
                                                                         17   ordinary rules of relevance in discovery, and Rule 30's grant of
                                                                         18   authority for a deposition of "any person, including a party"
                                                                         19   clearly permit this deposition.       Fed. R. Civ. P. 30(a)(1).
                                                                         20       Consideration of prejudice, on the other hand, is clearly a
                                                                         21   proper (although not usually dispositive) consideration in
                                                                         22   assessing good cause.     See Johnson, 975 F.2d at 609.       Here,
                                                                         23   Samsung's chief complaint is that the schedule proposed by the AG
                                                                         24   might allow for Plaintiffs to depose Mink after Defendants have
                                                                         25   filed their summary judgment motions, thereby according Plaintiffs
                                                                         26   an unfair advantage.     Mink Opp'n at 4.     Setting aside the fact that
                                                                         27   Samsung seems to be arguing on the one hand that Mr. Mink's
                                                                         28   testimony will be duplicative and on the other hand that Mink's



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                                                                          1   testimony will be so significant as to alter how they might
                                                                          2   approach summary judgment briefing, the Court is still not
                                                                          3   persuaded.    This potential prejudice can be easily mitigated by (1)
                                                                          4   the fact that, if Plaintiffs adopt the strategy that concerns
                                                                          5   Samsung, Defendants will still have the opportunity to file reply
                                                                          6   briefs addressing any issues related to Mr. Mink's deposition
                                                                          7   raised in Plaintiffs' opposition briefing, and (2) court-ordered or
                                                                          8   party-requested supplemental briefing.        See Civ. L.R. 7-3(d)
                                                                          9   (permitting additional briefing provided the filing party obtains
                                                                         10   prior court approval).     Furthermore, the AG is only associated with
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                                                                         11   this case for discovery purposes.         As previously ordered, only
                                                                         12   discovery deadlines apply to the AG (not the other pretrial or
                                                                         13   motion deadlines).     See ECF No. 2459 ("Scheduling Order), at 2 n.1
                                                                         14   ("The California Attorney General joins in this stipulation but
                                                                         15   only insofar as it concerns the close of fact and expert discovery
                                                                         16   on Defendants and the date of expert reports.").          As a result, the
                                                                         17   potential for prejudice (as well as gamesmanship) is lower here.
                                                                         18          Accordingly, this is a circumstance in which the AG could not
                                                                         19   have reasonably met the schedule, despite its diligence, and
                                                                         20   therefore the AG's motion to extend the discovery deadline to allow
                                                                         21   the deposition of Leo Mink to be completed by January 30, 2015 is
                                                                         22   GRANTED.
                                                                         23          B.    W.T. Kim and M.J. Kim
                                                                         24          The Court finds that the AG has failed to demonstrate
                                                                         25   diligence, and accordingly good cause, for extending the discovery
                                                                         26   deadline to permit them to pursue discovery from W.T. Kim and M.J.
                                                                         27   Kim.    There are two key difference between the AG's pursuit of Mr.
                                                                         28   Mink's deposition and the depositions of W.T. and M.J. Kim.          First,



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                                                                          1   rather than file an initial motion for the issuance of letters of
                                                                          2   request eight months prior to the discovery deadline, as the AG did
                                                                          3   with regard to Mr. Mink's case, this motion was only filed a little
                                                                          4   more than three months prior to the discovery cutoff.          An ABA
                                                                          5   report analyzing time frames for the execution of letters of
                                                                          6   request found that, while more than 65 percent of requests for oral
                                                                          7   testimony are executed within four months of issuance, only 12.5
                                                                          8   percent are executed within two months.        ABA Report at 10.    While
                                                                          9   the report provides no figure for requests executed within three
                                                                         10   months, these findings at least suggest that the AG's request may
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                                                                         11   have been late even from the outset.       Second, and more importantly,
                                                                         12   the AG's initial letters of request failed to comply with the
                                                                         13   Republic of Korea's requirements for execution and with Article 3
                                                                         14   of the Hague Convention.     Unlike the case of Mr. Mink, the delays
                                                                         15   here are the result of the AG's actions, and not factors outside
                                                                         16   her control.
                                                                         17         Accordingly, the Court finds that because the AG did not
                                                                         18   diligently pursue the depositions of W.T. Kim and M.J. Kim, good
                                                                         19   cause is lacking for an extension of the discovery deadline as to
                                                                         20   these deposition.    As a result, the AG's motion for the issuance of
                                                                         21   revised letter of request for the taking of evidence from W.T. Kim
                                                                         22   and M.J. Kim is DENIED.
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                                                                          1   V.   CONCLUSION
                                                                          2        For the reasons set forth above, the Court ORDERS the
                                                                          3   following:
                                                                          4             The AG's motion for extension of time to permit the
                                                                          5              deposition of Mr. Leo Mink to be completed by January 30,
                                                                          6              2015 is GRANTED.
                                                                          7             The AG's motion for the issuance of revised letters of
                                                                          8              request for the taking of evidence from W.T. Kim and M.J.
                                                                          9              Kim is DENIED.
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                                                                         11        IT IS SO ORDERED.
                                                                         12
                                                                         13        Dated:   October 1, 2014
                                                                                                                   UNITED STATES DISTRICT JUDGE
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